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 7
                              UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9
        ANDREW BOLLAND, individually and on                   NO. 2:20-cv-00741
10
        behalf of all others similarly situated,
11
                 Plaintiff,                                   COMPLAINT—CLASS ACTION
12
                 v.
13                                                            JURY DEMAND
        SEATTLE PACIFIC UNIVERSITY,
14

15               Defendant.

16
            Plaintiff Andrew Bolland (“Plaintiff”) brings this action on behalf of himself and all
17
     others similarly situated against Defendant Seattle Pacific University (“SPU” or “Defendant”).
18

19   Plaintiff makes the following allegations pursuant to the investigation of his counsel and based

20   upon information and belief, except as to the allegations specifically pertaining to himself,

21   which are based on personal knowledge.
22
             NATURE OF THE ACTION AND FACTS COMMON TO ALL CLAIMS
23
            1.        This is a class action lawsuit on behalf of all people who paid tuition and/or fees
24
     for the 2020 Winter and/or Spring Quarters at SPU, and who, because of Defendant’s response
25
     to the novel coronavirus disease 2019 (“COVID-19”) pandemic, lost the benefit of the
26

27
                                                                           SAVITT BRUCE & WILLEY LLP
      COMPLAINT—CLASS ACTION - 1
                                                                           1425 Fourth Avenue Suite 800
      No. 2:20-cv-00741
                                                                          Seattle, Washington 98101-2272
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 1   education for which they paid, and/or the services for which their fees were paid, without
 2
     having their tuition and/or fees refunded to them.
 3
            2.      SPU is a private university with a total enrollment of approximately 3,500
 4
     students. SPU offers more than 170 academic programs: 71undergraduate majors, 59
 5

 6
     undergraduate minors, and 44 graduate degree programs and certificates.

 7          3.      SPU does not traditionally offer online courses as part of its regular curriculum.

 8   All, or almost all, of SPU’s courses are conducted in-person.
 9          4.      SPU operates on academic quarters. The 2020 Winter Quarter began on January
10
     6, 2020 and ran through March 13, 2020. The 2020 Spring Quarter began April 13 and runs
11
     through June 11, 2020.
12
            5.      On March 6, 2020, SPU announced through a campus-wide email that, because
13

14   of the global COVID-19 pandemic, its campus would be closed and courses would transition to

15   online and remote learning. On March 12, 2020, SPU announced that the upcoming Spring

16   Quarter courses also would be available only online or remotely.
17
            6.      SPU has not held any in-person classes since March 6, 2020, at the latest.
18
     Classes that have continued have been in an online format, with no in-person instruction.
19
            7.      As a result of the closure of SPU’s facilities, SPU has not delivered the
20
     educational services, facilities, access, and opportunities that Plaintiff and the putative class
21

22   contracted and paid for. The online learning options offered to SPU students provide less to

23   students than SPU’s in-person courses in multiple aspects, including lack of facilities and
24   materials, limited access to faculty, and loss of the many learning experiences that require in-
25
     person interaction among faculty and students. Students have been deprived of the opportunity
26
     for collaborative learning and in-person dialogue, feedback, and critique. The remote learning
27
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 1   options are in no way the equivalent of the in-person education that Plaintiff and the putative
 2
     class members contracted and paid for.
 3
            8.      Plaintiff and the putative class are therefore entitled to a refund of tuition and
 4
     fees for in-person educational services, facilities, access, and opportunities that SPU has not
 5

 6
     provided. Even if SPU claims that it did not have a choice in cancelling in-person classes, it

 7   nevertheless has improperly retained funds for services it is not providing.

 8          9.      Through this lawsuit Plaintiff seeks, for himself and Class members, SPU’s
 9   disgorgement of the pro-rated portion of tuition and fees proportionate to the amount of time
10
     they did not receive the in-person education they paid for because SPU moved its classes online
11
     and ceased providing campus services. Plaintiff seeks a return of these amounts on behalf of
12
     himself and the Class as defined below.
13

14                                               PARTIES

15          10.     Plaintiff Andrew Bolland is a citizen of Washington who resides in Bonney

16   Lake, Washington. Mr. Bolland is an undergraduate student at Seattle Pacific University. Mr.
17
     Bolland is pursuing a degree in Theater Performance. The Theater Performance program at
18
     SPU relies extensively on in-person instruction, meaningful student presentations, peer
19
     collaboration, and access to other university facilities. None of these resources are available to
20
     Mr. Bolland while in-person classes are suspended. Mr. Bolland paid Defendant over $14,000
21

22   per quarter for tuition and fees for the 2020 Winter and Spring Quarters. SPU has not provided

23   Mr. Bolland any refund of tuition or other mandatory fees, even though in-person classes have
24   not been held since March 6, 2020.
25
            11.     Defendant Seattle Pacific University is a Washington nonprofit corporation
26
     located in Seattle, Washington.
27
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 1                                     JURISDICTION AND VENUE
 2
             12.     The Court has jurisdiction over this action pursuant to 28 U.S.C.
 3
     § 1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one
 4
     member of the Class, as defined below, is a citizen of a different state than Defendant, there are
 5

 6
     more than 100 members of the Class, and the aggregate amount in controversy exceeds

 7   $5,000,000 exclusive of interest and costs.

 8           13.     This Court has personal jurisdiction over Defendant because SPU is a citizen of
 9   Washington with its principal place of business in this District.
10
             14.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant is
11
     a resident of this District. Moreover, many of the acts and transactions giving rise to this action
12
     occurred in this District, and Plaintiff is a resident of this District.
13

14                                      FACTUAL ALLEGATIONS

15   A.      Plaintiff and Class Members Paid Tuition and Fees for the Winter 2020 and
16
             Spring 2020 Quarters

17           15.     Plaintiff and Class members are individuals who paid the cost of tuition and

18   other mandatory fees for the 2020 Winter and/or Spring Quarters at SPU.
19           16.     Winter 2020 classes at SPU began on or about January 6, 2020 and ended March
20
     12, 2020. Spring 2020 classes began on or about April 13, 2020 and run through July 11, 2020.
21
             17.     Plaintiff and Class members paid the cost of tuition for the Winter 2020 and/or
22
     Spring 2020 Quarters, as well as associated fees and costs.
23

24
             18.     Examples of approximate tuition costs at SPU for the 2020 Winter and Spring

25   Quarters are as follows:

26

27
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 1                         Tuition: $14,868 per quarter
 2
                           Technology Fee: $55 per quarter
 3
                           Student Activities Fee: $103 per quarter
 4
              19.   The tuition and fees described in the paragraphs above are provided by way of
 5

 6   example; total damage amounts—which may include other fees that are not listed herein but

 7   that were not refunded—will be proven at trial.
 8
     B.       In Response to COVID-19, SPU Closed Its Campus and Cancelled All In-Person
 9            Classes

10            20.   On March 6, 2020, SPU announced through a campus-wide email that, because
11
     of the global COVID-19 pandemic, its campus would be closed and courses would transition to
12
     online and remote learning. On March 12, 2020, SPU announced that Spring Quarter courses
13
     would also be available only online or remotely.
14
              21.   SPU has not held any in-person classes since March 6, 2020. Classes that have
15

16   continued have been offered only in an online format, with no in-person instruction.

17            22.   As a result of the closure of Defendant’s facilities, Defendant has not delivered

18   the educational services, facilities, access, and opportunities that Plaintiff and the putative class
19
     contracted and paid for. Plaintiff and the putative class are therefore entitled to a refund of all
20
     tuition and fees for services, facilities, access, and opportunities that Defendant has not
21
     provided. Even if Defendant claims that it did not have a choice in cancelling in-person
22
     classes, it nevertheless has improperly retained funds for services it is not providing.
23

24            23.   Plaintiff and members of the Class chose not to attend an online institution of

25   higher learning but instead chose to attend Defendant’s institution and enroll on an in-person
26   basis.
27
                                                                           SAVITT BRUCE & WILLEY LLP
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 1          24.     Defendant markets SPU’s on-campus experience as a benefit of enrollment on
 2
     its website:
 3

 4

 5

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 7

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20

21          25.     The online learning options being offered to SPU students are subpar compared
22   to SPU’s in-person courses. The online learning options offered to SPU students provide less
23
     to students than SPU’s in-person courses in in multiple aspects, including lack of facilities and
24
     materials, limited access to faculty, and loss of the many learning experiences that require in-
25
     person interaction among faculty and students.
26

27
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 1          26.     The remote learning options are in no way the equivalent of the in-person
 2
     education putative class members contracted and paid for. The online education being
 3
     provided is not worth nearly the amount charged Class members in tuition and fees for the 2020
 4
     Winter and Spring Quarters. The tuition and fees for in-person instruction at SPU are higher
 5

 6
     than tuition and fees for other online institutions because such costs cover not only the

 7   academic instruction but also an entirely different experience that includes but is not limited to:

 8                          Face-to-face interaction with professors, mentors, and peers;
 9
                            Access to facilities such as libraries, laboratories, computer labs, and
10                           study room;

11                          Student governance and student unions;

12                          Extra-curricular activities, groups, intramural sports, etc.;
13
                            Student art, cultures, and other activities;
14
                            Social development and independence;
15
                            Hands-on learning and experimentation;
16

17                          Networking and mentorship opportunities.

18          27.     The fact that SPU students paid a higher price for an in-person education than
19   they would have paid for an online education. This is clearly illustrated by the fact that SPU
20
     does not traditionally offer online courses, nor does it have an established online education
21
     program.
22
            28.     Through this lawsuit Plaintiff seeks, for himself and Class members,
23

24   Defendant’s disgorgement of the pro-rated portion of tuition and fees proportionate to the

25   amount of time they did not receive the in-person education they paid for because SPU moved

26   its classes online and ceased providing campus services. Plaintiff seeks return of these amounts
27
     on behalf of himself and the Class, as defined below.
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      COMPLAINT—CLASS ACTION - 7
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 1                                       CLASS ALLEGATIONS
 2
            29.     Plaintiff seeks to represent a class defined as all people who paid SPU tuition
 3
     and/or fees for in-person educational services to be provided for SPU’s Winter 2020 Quarter
 4
     and/or its Spring 2020 Quarter that SPU failed to provide, and whose tuition and/or fees have
 5

 6
     not been refunded (the “Class”). Specifically excluded from the Class are Defendant,

 7   Defendant’s officers, directors, agents, trustees, parents, children, corporations, trusts,

 8   representatives, employees, principals, servants, partners, joint ventures, or entities controlled
 9   by Defendant, and their heirs, successors, assigns, or other persons or entities related to or
10
     affiliated with Defendant and/or Defendant’s officers and/or directors, the judge assigned to
11
     this action, and any member of the judge’s immediate family.
12
            30.     Plaintiff also seeks to represent a subclass consisting of Class members who
13

14   reside in Washington (the “Subclass”).

15          31.     Subject to additional information obtained through further investigation and

16   discovery, the foregoing definition of the Class and Subclass may be expanded or narrowed by
17
     amendment or amended complaint.
18
            32.     Numerosity. The members of the Class and Subclass are geographically
19
     dispersed throughout the United States and are so numerous that individual joinder is
20
     impracticable. Upon information and belief, Plaintiff reasonably estimates that there are
21

22   thousands of members in the Class and Subclass. Although the precise number of Class

23   members is unknown to Plaintiff, the true number of Class members is known by Defendant
24   and may be determined through discovery. Class members may be notified of the pendency of
25
     this action by mail and/or publication through records in Defendant’s possession.
26

27
                                                                           SAVITT BRUCE & WILLEY LLP
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 1          33.     Existence and predominance of common questions of law and fact.
 2
     Common questions of law and fact exist as to all members of the Class and Subclass and
 3
     predominate over any questions affecting only individual Class members. These common legal
 4
     and factual questions include, but are not limited to, the following:
 5

 6
            (a)     whether Defendant accepted money from Class and Subclass members in
                    exchange for the promise to provide services;
 7
            (b)     whether Defendant has provided the services for which Class and Subclass
 8                  members contracted;

 9          (c)     whether Class and Subclass members are entitled to a refund for that portion of
                    the tuition and/or fees that was paid for services that Defendant did not provide;
10
            (d)     whether Defendant has unlawfully converted money from Plaintiff, the Class
11
                    and Subclass; and
12
            (d)     whether Defendant is liable to Plaintiff, the Class, and Subclass for unjust
13                  enrichment.

14          34.     Typicality. Plaintiff’s claims are typical of the claims of the other members of
15   the Class in that, among other things, all Class and Subclass members were similarly situated
16
     and were comparably injured through Defendant’s wrongful conduct as set forth herein.
17
     Further, there are no defenses available to Defendant that are unique to Plaintiff.
18
            35.     Adequacy of Representation. Plaintiff will fairly and adequately protect the
19

20
     interests of the Class and Subclass. Plaintiff has retained counsel that is highly experienced in

21   complex consumer class action litigation, and Plaintiff intends to vigorously prosecute this

22   action on behalf of the Class and Subclass. Furthermore, Plaintiff has no interests that are
23   antagonistic to those of the Class or Subclass.
24
            36.     Superiority. A class action is superior to all other available means for the fair
25
     and efficient adjudication of this controversy. The damages or other financial detriment
26
     suffered by individual Class and Subclass members are relatively small compared to the burden
27
                                                                          SAVITT BRUCE & WILLEY LLP
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 1   and expense of individual litigation of their claims against Defendant. It would thus be
 2
     virtually impossible for the Class or Subclass to obtain effective redress for the wrongs
 3
     committed against the members on an individual basis. Furthermore, even if Class or Subclass
 4
     members could afford such individualized litigation, the court system could not. Individualized
 5

 6
     litigation would create the danger of inconsistent or contradictory judgments arising from the

 7   same set of facts. Individualized litigation would also increase the delay and expense to all

 8   parties and the court system from the issues raised by this action. By contrast, the class action
 9   device provides the benefits of adjudication of these issues in a single proceeding, economies
10
     of scale, and comprehensive supervision by a single court, and presents no unusual
11
     management difficulties under the circumstances.
12
            37.     In the alternative, the Class and Subclass may also be certified because:
13

14          (a)     the prosecution of separate actions by individual Class and Subclass members
                    would create a risk of inconsistent or varying adjudications with respect to
15                  individual Class members that would establish incompatible standards of
                    conduct for the Defendant;
16
            (b)     the prosecution of separate actions by individual Class and Subclass members
17                  would create a risk of adjudications with respect to them that would, as a
18
                    practical matter, be dispositive of the interests of other Class members not
                    parties to the adjudications, or substantially impair or impede their ability to
19                  protect their interests; and/or

20          (c)     Defendant has acted or refused to act on grounds generally applicable to the
                    Class as a whole, thereby making appropriate final declaratory and/or injunctive
21                  relief with respect to the members of the Class as a whole.
22                                            COUNT I
                                         Breach of Contract
23
                                 (On Behalf of the Class and Subclass)
24
            38.     Plaintiff hereby incorporates by reference the allegations contained in
25
     paragraphs 1-37 of this complaint.
26

27
                                                                         SAVITT BRUCE & WILLEY LLP
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                                                                         1425 Fourth Avenue Suite 800
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                                                                        Seattle, Washington 98101-2272
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 1          39.      Plaintiff brings this claim against Defendant individually and on behalf of the
 2
     members of the Class and Subclass.
 3
            40.      Through the payment of tuition and/or fees, Plaintiff and each member of the
 4
     Class and Subclass entered into a binding contract with Defendant.
 5

 6
            41.      As part of that contract, and in exchange for the aforementioned consideration,

 7   Defendant promised to provide certain services, all as set forth above. Plaintiff and members

 8   of the Class and Subclass fulfilled their end of the bargain when they paid monies due for
 9   Winter and/or Spring 2020 tuition and/or fees. The tuition and fees were intended to cover in-
10
     person educational services from January through March for the Winter Quarter and April
11
     through June 2020 for the Spring Quarter. In exchange for the monies paid, Plaintiff and the
12
     Class and Subclass members were entitled to in-person educational services for the entirety of
13

14   each Quarter for which they paid.

15          42.      Defendant has failed to provide the contracted-for services and has otherwise

16   not performed under the contract as set forth above. Defendant has retained monies paid by
17
     Plaintiff and the Class and Subclass members for their Winter and/or Spring 2020 tuition and/or
18
     fees, without providing them the benefit of their bargain.
19
            43.      Plaintiff and members of the Class and Subclass have suffered damage as a
20
     direct and proximate result of Defendant’s breach, including but not limited to being deprived
21

22   of the education, experience, and services that they were promised and for which they have

23   already paid.
24          44.      As a direct and proximate result of Defendant’s breach, Plaintiff and members
25
     of the Class and Subclass are entitled to damages, to be decided by the trier of fact in this
26
     action, to include but not be limited to reimbursement of certain tuition, fees, and/or other
27
                                                                          SAVITT BRUCE & WILLEY LLP
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                                                                          1425 Fourth Avenue Suite 800
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 1   expenses that were collected by Defendant for services that Defendant has failed to deliver.
 2
     Defendant should return the pro-rated portion of any Winter and/or Spring 2020 tuition and/or
 3
     fees for education services not provided since SPU ceased its on-campus classes on March 6,
 4
     2020.
 5

 6
             45.    Defendant’s performance under the contract is not excused due to COVID-19.

 7   Indeed, Defendant should have refunded the pro-rated portion of any education services not

 8   provided. Even if performance was excused or impossible, Defendant would nevertheless be
 9   required to return the funds received for services not provided.
10
                                              COUNT II
11                                       Unjust Enrichment
                                 (On Behalf of the Class and Subclass)
12
             46.    Plaintiff hereby incorporates by reference the allegations contained in
13
     paragraphs 1-45 of this complaint.
14

15           47.    Plaintiff brings this claim against Defendant individually and on behalf of the

16   members of the Class and Subclass.

17           48.    Plaintiff and members of the Class and Subclass conferred a benefit on
18
     Defendant in the form of monies paid for Winter and/or Spring 2020 tuition and/or fees in
19
     exchange for certain services and promises. The tuition and fees were intended to cover in-
20
     person educational services from January through March for the Winter Quarter and April
21
     through June 2020 for the Spring Quarter. In exchange for the monies paid, Plaintiff and the
22

23   Class and Subclass members were entitled to in-person educational services for the entirety of

24   each Quarter for which they paid.
25           49.    Defendant voluntarily accepted and retained this benefit by accepting payment.
26

27
                                                                         SAVITT BRUCE & WILLEY LLP
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                                                                         1425 Fourth Avenue Suite 800
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                                                                        Seattle, Washington 98101-2272
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 1          50.     Defendant has retained this benefit, even though Defendant has failed to provide
 2
     the education, experience, and services for which the tuition and/or fees were collected, making
 3
     Defendant’s retention unjust under the circumstances. Accordingly, Defendant should return
 4
     the pro-rated portion of any Winter and/or Spring 2020 tuition and/or fees for education
 5

 6
     services not provided since SPU ceased its on-campus classes on March 6, 2020.

 7          51.     It would be unjust and inequitable for Defendant to retain the benefit, and

 8   Defendant should be required to disgorge this unjust enrichment.
 9                                           COUNT III
10
                                             Conversion
                                 (On Behalf of the Class and Subclass)
11
            52.     Plaintiff hereby incorporates by reference the allegations contained in
12
     paragraphs 1-51 of this complaint.
13
            53.     Plaintiff brings this claim against Defendant individually and on behalf of the
14

15   members of the Class and Subclass.

16          54.     Plaintiff and members of the Class and Subclass have an ownership right to the

17   in-person educational services they were supposed to be provided in exchange for their Winter
18
     and/or Spring 2020 tuition and fee payments to Defendant.
19
            55.     Defendant intentionally interfered with the rights of Plaintiff and members of
20
     the Class and Subclass when it moved all classes to an online format and discontinued in-
21
     person educational services for which tuition and/or fees were intended to pay.
22

23          56.     Plaintiff and members of the Class and Subclass demand the return of the pro-

24   rated portion of any Winter and/or Spring 2020 tuition and/or fees for education services not
25   provided since SPU shut down on March 6, 2020.
26

27
                                                                         SAVITT BRUCE & WILLEY LLP
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                                                                         1425 Fourth Avenue Suite 800
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                                                                        Seattle, Washington 98101-2272
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 1           57.    Defendant’s retention of the tuition and/or fees paid by Plaintiff and members of
 2
     the Class and Subclass without providing the educational services for which they paid deprived
 3
     Plaintiff and members of the Class and Subclass of the benefits for which the tuition and/or fees
 4
     paid.
 5

 6
             58.    This interference with the services for which Plaintiff and members of the Class

 7   and Subclass paid damaged Plaintiff and members of the Class and Subclass in that they paid

 8   tuition and/or fees for services that will not be provided.
 9           59.    Plaintiff and members of the Class and Subclass are entitled to the return of pro-
10
     rated portion of any Winter and/or Spring 2020 tuition and/or fees for education services not
11
     provided since SPU ceased in-person classes on March 6, 2020.
12
                                         PRAYER FOR RELIEF
13

14           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

15   seeks judgment against Defendant, as follows:

16           A.     For an order certifying the nationwide Class and the Washington Subclass
17
                    under Rule 23 of the Federal Rules of Civil Procedure and naming Plaintiff
18
                    as the representative for the Class and Washington Subclass and Plaintiff’s
19
                    attorneys as Class Counsel;
20
             B.     For an order declaring the Defendant’s conduct violates the laws referenced
21

22                  herein;

23           C.     For an order finding in favor of Plaintiff, the nationwide Class, and the
24                  Washington Subclass on all counts asserted herein;
25
             D.     For compensatory, statutory, and punitive damages in amounts to be
26
                    determined by the Court and/or jury;
27
                                                                         SAVITT BRUCE & WILLEY LLP
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                                                                         1425 Fourth Avenue Suite 800
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 1           E.      For prejudgment interest on all amounts awarded;
 2
             F.      For an order of restitution and all other forms of equitable monetary relief;
 3
             G.      For injunctive relief as the Court may deem proper; and
 4
             H.      For an order awarding Plaintiff and the Class and Washington Subclass their
 5

 6
                     reasonable attorneys’ fees and expenses and costs of suit.

 7                                   DEMAND FOR TRIAL BY JURY

 8           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of
 9   any and all issues in this action so triable of right.
10
              DATED: May 16, 2020.
11
                                               SAVITT BRUCE & WILLEY LLP
12

13                                             By      s/Miles A. Yanick
                                                       s/Jacob P. Freeman
14                                                  Miles A Yanick, WSBA #26603
                                                    Jacob P. Freeman, WSBA #54123
15
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